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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                 )   Case No. 20-10940-LSS
                                                       )
ALPHA ENTERTAINMENT LLC,                               )   Chapter 11
                                                       )
    Debtor.                                            )   Hearing Date: 05/27/20 at 11:00 a.m.
                                                       )   Re: Docket Nos. 7, 55, 146, 147


          STATEMENT OF VINCENT K. MCMAHON IN SUPPORT OF DEBTOR’S
         SALE MOTION AND IN RESPONSE TO THE COMMITTEE’S OBJECTIONS

          Vincent K. McMahon (“McMahon”), by and through his undersigned counsel, hereby

respectfully submits this Statement in support of the Debtor’s motion to approve bid procedures

and a sale of substantially all of its assets [Docket No. 55] (the “Sale Motion”) and in response to

the objections (the “Objections”) filed by the Creditors’ Committee (the “Committee”) [Docket

Nos. 146 - 147] to the Sale Motion, and the Debtor’s motion to approve debtor-in-possession

financing [Docket No. 7].

          McMahon founded the Debtor in 2017 with a goal of creating a viable spring professional

football league, the XFL. Prior to the sudden shutdown of the league’s season due to the

COVID-19 pandemic, he funded the league out of his pocket entirely through equity

contributions. Overall, McMahon has invested $200 million into the Debtor, of which more than

$190 million was in the form of equity contributions. No one else has made any cash investments

in the Debtor, whether through equity or debt.

          Through McMahon’s efforts and the efforts of the management team he recruited, the

Debtor built a football league from scratch. The Debtor negotiated stadium, practice facility, and

front office leases for each of the eight teams. The Debtor recruited players and coaches. The

Debtor negotiated media contracts to broadcast all of the XFL’s games. The Debtor created

intellectual property for the teams and the league, entered into branding and marketing deals,
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purchased football and training equipment, and did all the other things necessary to get the

league up and running. As the Debtor’s detail in their pleadings, the league successfully launched

its inaugural season earlier this year.

        Midway through the inaugural season, however, COVID-19 changed the world. The

pandemic prevented the league from holding games, thereby eliminating one of its main revenue

streams - ticket sales. The league was forced to cancel the remaining season while having to

maintain a substantial payroll.

        The Debtor and McMahon found themselves faced with a business that would continue to

incur significant expenses, but had no way of generating revenue. It was unclear, and remains

unclear today, when live events such as major sporting events will be able to resume in the

United States and, if so, under what restrictions.

        Given those factors, McMahon determined he would not continue to fund the Debtor’s

liabilities by making further equity contributions. The Debtor and McMahon determined that a

restructuring or insolvency proceeding of some kind was likely, and the Debtor retained Young

Conaway Stargatt & Taylor LLP as restructuring counsel. The Debtor also needed additional

capital to cover payroll and operating costs, including preparing for a chapter 11 filing.

        The Debtor turned to McMahon, the only realistic funding source available and the only

funding source the Debtor has ever known. Although McMahon was agreeable to provide

additional monies as secured debt, he and the Debtor recognized the fiduciary implications of

McMahon being both the Debtor’s controlling principal and its lender. They therefore agreed it

was appropriate to bring in an independent fiduciary for the Debtor. John Brecker was brought in

both to serve as that independent fiduciary and also to lend his restructuring experience to the

Debtor.



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       Mr. Brecker approved the loan by McMahon to the Debtor and executed the note for the

Debtor on March 25, 2020 (as amended, the “Note”). The Note provided a one year loan of up to

$7 million secured by substantially all of the Debtor’s assets. McMahon received no fees for the

Note, and the Note bears interest at only 4.25% and requires no cash payments of principal or

interest until maturity. The Debtor ultimately came to believe that it needed additional capital in

excess of $7 million prior to the Petition Date. Once again, McMahon agreed to fund it, and so

the Note was amended to increase the availability to $9 million.

       Amidst other arguments, the Committee complains bitterly about the Note in its

Objections. The Committee undoubtedly would have preferred for McMahon to have funded the

Debtor’s last $9 million in capital needs with equity, like McMahon’s previous $190 million in

equity contributions. Having already lost his substantial equity investment due to the pandemic,

McMahon was under no obligation to provide additional funding of any kind, much less to make

further equity investments in a suddenly insolvent business.

       Instead, he decided to provide a secured loan so the Debtor would be able to fund a well-

organized sale of the league via a chapter 11 case. The hope was, and is, that it could be

marketed as an opportunity for a well-capitalized buyer that believes in the spring football

business to step in and quickly restart the XFL. The XFL had achieved wide support while

operating, and the goal was to provide buyers the ability to capitalize on that goodwill, retain the

momentum created by McMahon and the Debtor’s organization, and use the Debtor’s existing

operational structure to restart the XFL in time for a new season in 2021.

       As it prepared for bankruptcy, the Debtor projected its likely cash needs during the case.

The Debtor determined it would need DIP financing of up to $3.5 million to sustain itself




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through completion of a sale, which McMahon once again agreed to provide on the same

favorable terms as his initial $7 million commitment.

       A major cost anticipated by the Debtors at this time was $3.5 million in refunds to season

ticketholders. These customers had not received many of the games they’d paid for, and the

Debtors determined it was important to refund these critical customers to protect the XFL’s

goodwill and ensure they would be there for a restarted league. McMahon agreed and was

willing to fund DIP financing in part to cover the refunds.

       The Debtor, through its bankruptcy counsel and Brecker, also negotiated the milestones

for a sale process with McMahon. The Debtor’s budget showed it could, with the requested DIP

financing from McMahon, sustain a sale process which would conclude by mid-July. The Debtor

and McMahon accordingly negotiated for milestones requiring the sale order to be entered by

July 15.

       At the first day hearing, the Court deferred a decision on the season ticketholder refunds

to the second day hearing. Afterwards, the Debtor determined much of the refunds to season

ticketholders had already been made prepetition by the Debtor’s credit card processors. After

accounting for the card processor refunds, only $650,000 remained due to season ticketholders.

In the main, these remaining refunds are due to people who paid either by check or by a credit

card that is no longer valid, and therefore are not capable of receiving electronic refunds.

       In part because of this, and also due to other favorable updates to the Debtor’s cash

projections in the early weeks of the case, the Debtor ultimately reduced its DIP financing

request to McMahon to $1.5 million. As before, this was the amount the Debtor projected as

necessary to provide sufficient liquidity for the Debtors to complete a sale process by mid-July.

McMahon once again agreed to provide this financing on the same generous terms as before.



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        Late last week, the Debtor further revised its cash projections. The Debtor now believes,

due to substantial savings achieved to date, that the Debtor does not need DIP financing to

complete the sale process on the contemplated timeline. The Debtor is accordingly withdrawing

its request for DIP financing, and the Debtor and McMahon have instead negotiated for the

Debtor’s continued use of cash collateral through the sale process.

        As this narrative reflects, McMahon has supported the Debtor at every turn through this

process and has acted scrupulously as a fiduciary. Indeed, since the filing, and during the time he

was considering whether to be a bidder, McMahon recused himself from making major decisions

by the Debtor, including for example the hiring of an investment banker. Instead, these decisions

have been made by Mr. Brecker and Jeffrey Pollack, the Debtor’s President, in consultation with

the Debtor’s counsel.

        Despite this, and perhaps proving the maxim “no good deed goes unpunished,” the

Committee has chosen to approach this case as an opportunity to attack McMahon on whatever

specious grounds the Committee can conjure. The Committee’s principal theme in attacking

McMahon, widely publicized in the media, is the false narrative that the Debtor’s sale process

has been set up to allow McMahon to acquire the Debtor’s assets at a low price.1 As set forth

above, this has no basis in fact. Further, as the Committee is aware, McMahon announced last

week during his deposition by Committee counsel that he will not be a bidder for the Debtor’s

assets. Thus falls the center of the Committee’s house of cards. In the process, however, there is

now one less potential bidder for the assets, which hardly benefits creditors.


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  See Objection of the Official Committee of Unsecured Creditors of Alpha Entertainment LLC to the Debtor’s
Motion for Interim and Final Orders Authorizing the Debtor to Obtain Post-Petition Secured Financing, Pursuant
to 11 U.S.C. § 105, 362, 363, 364 and 507, (A) Authorizing Post-Petition Financing, (B) Authorizing Use of Cash
Collateral, (C) Scheduling a Final Hearing, and (D) Granting Related Relief [Docket No. 147] at 2 (“In fact, the
DIP and Bid Procedures are designed to ensure that McMahon can acquire the Debtor at a fire sale price with third
parties having little or no meaningful opportunity to do the due diligence required to ensure a fair process.” ).


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       The Committee also repeatedly complains about the timing of the sale process and the

Debtor’s operating costs, arguing the sale process should be extended and resulting increased

administrative costs paid for through unspecified cuts to the Debtor’s personnel. The timing for

the sale process has been set, and continues to be set, largely by what the Debtor can afford. And

the Debtor has done a remarkable job reducing its operating expenses while preserving the core

employees needed for a purchaser to re-start the business. Indeed, the Debtor’s management has

successfully reduced costs to such an extent that the Debtor no longer needs DIP financing,

something you would have thought the Committee would celebrate.

       The Committee has even suggested, without a shred of evidentiary support, that

McMahon is encouraging the Debtor to pay the remaining refunds to season ticketholders in an

effort to avoid personal liability for those payments under some guaranty. The Committee’s

counsel questioned McMahon extensively on this point during his deposition, despite the fact

that there is no guaranty by McMahon which would expose him to personal liability for those

payments. Quite to the contrary of the Committee’s unfounded assertion on this point, the fact

that McMahon has been willing to fund the payment of these refunds through additional DIP

lending to the Debtor even though there is no personal financial benefit to him from doing so,

only demonstrates once again that McMahon is doing all that he can to preserve the value of the

XFL for its next owner.

       The Debtor’s goal, which McMahon shares, is to allow an opportunity for a buyer to

acquire the assets and employees needed to restart the XFL for a 2021 season. The Debtor could

take an alternative approach of terminating everyone and simply selling the intellectual property

for the XFL. That approach would likely make it impossible for a buyer to restart the league in

time for a 2021 season, effectively throwing away much of the XFL’s goodwill and the



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momentum and energy created by the league in the run up to its pandemic-shortened maiden

season. McMahon concurs with the Debtor’s business judgment that this would be the wrong

approach.

       Finally, the Committee complains about the current cash collateral order’s restrictions on

using cash collateral to pay the Committee’s professional fees. First, to the contrary of the

Committee’s allegations, the cash collateral order places no restrictions on the Committee’s

actions. The order contains no stipulations or timeline for the Committee to assert claims. The

Committee’s real complaint is that it wants McMahon to consent to more of the cash collateral

being spent on the Committee’s professional fees, rather than for those professionals being

forced to rely for payment on the Bankruptcy Code’s priority scheme.

       In fact, McMahon has agreed to use of cash collateral to pay up to $200,000 of the

Committee’s professional fees. This is 50% of the original budget for the Debtor’s counsel,

Young Conaway - and Young Conaway is responsible for running the sale process. McMahon

has also agreed to a carve out from his recoveries in favor of the Committee’s professionals up to

(1) subject to court allowance, the amount incurred prior to an event of default up to the limits in

the cash collateral budget, plus (2) subject to court allowance, $30,000 incurred after an event of

default. Given the Committee has no entitlement to a carve out of any kind under the Code, this

is more than sufficient.

       Finally, in terms of an investigation by the Committee of McMahon’s prepetition secured

note and liens, McMahon has agreed to allow $20,000 of cash collateral to be used for this

purpose. As the prepetition note, its single amendment, and the accompanying UCC-1 filing

combine for less than 20 pages (including signature pages), it is difficult to understand how

$20,000 could be insufficient.



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          WHEREFORE, McMahon requests that the Court approve the bid procedures proposed

in the Sale Motion, approve use of cash collateral on a final basis on the terms negotiated

between the Debtor and McMahon, and grant such other relief as the Court deems just and

proper.


May 26, 2020                                     CONNOLLY GALLAGHER LLP

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